Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 1 of 53 PageID #: 8




                     EXHIBIT A
     Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 2 of 53 PageID #: 9
                                                       EFiled: Jul 10 2023 05:00PM EDT
                                                       Transaction ID 70346647
                                                       Case No. N23C-07-063 DJB
          IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


JAMES RAY EPPS, SR.
                                            Case No.
          Plaintiff,
v.                                          JURY TRIAL DEMANDED

FOX NEWS NETWORK, LLC,
          Defendant.



                                    COMPLAINT

1.       In the aftermath of the events of January 6th, Fox News searched for a

scapegoat to blame other than Donald Trump or the Republican Party. Eventually,

they turned on one of their own, telling a fantastical story in which Ray Epps—

who was a Trump supporter that participated in the protests on January 6th—was

an undercover FBI agent and was responsible for the mob that violently broke into

the Capitol and interfered with the peaceful transition of power for the first time in

this country’s history.

2.       Fox’s role in creating and disseminating destructive conspiracy theories has

already been well documented. Perhaps most notoriously, in the days following the

2020 presidential election, Fox broadcast, amplified, and endorsed false claims

about a rigged election.




                                           1
 Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 3 of 53 PageID #: 10




3.     The chief villains in Fox’s story were two voting machine companies:

Dominion Voting Systems and Smartmatic.

4.     Fox recklessly disregarded the truth—ignoring independent audits, hand

recounts, bipartisan election officials, election security experts, judges, and

Republican officials—and persisted in sticking to the false narrative.

5.     Behind the scenes—away from the red light of rolling cameras—executives,

producers, and on-air personalities rejected as preposterous and crazy the claims

that Fox was feeding its viewers. But in front of the camera, Fox continued with

the lies.

6.     The power of Fox’s megaphone turned Dominion and Smartmatic into

household names and led to the companies’ employees being harassed and leaving

the companies to suffer significant economic harm.

7.     The lies that Fox told were heard by Ray and Robyn Epps, loyal Fox viewers

and fans of Tucker Carlson and other Fox personalities.

8.     Ray and his wife Robyn voted for Donald Trump in 2016 and in 2020.

9.     From the stories they heard on Fox and from their own experiences, Ray and

Robyn believed that the 2020 election had been stolen from Donald Trump.

10.    Ray and Robyn were persuaded by the lies broadcast by Fox asserting that

the election had been stolen to exercise their perceived responsibilities as patriotic

citizens to gather in the nation’s Capitol on January 6, 2021 to “stop the steal.”


                                           2
 Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 4 of 53 PageID #: 11




11.   Ray and Robyn decided that Ray Epps should attend the January 6, 2021

rally to protest what they were concerned was a rigged election.

12.   Epps flew to Washington, DC on January 4, 2021.

13.   He proudly wore his red Trump hat throughout Washington D.C., and on

January 5th and January 6th he vocally supported and encouraged peaceful

protests.

14.   The events of January 6, 2021 are well-known. Some of the attendees of the

January 6th rally attacked the Capitol, violently gaining entrance to the building

and stopping the electoral vote counting that was underway.

15.   Reports indicate that 120,000 people attended the Stop the Steal rally on

January 6th.

16.   Reports indicate that of those 120,000 attendees, as many as 2,500 illegally

entered the Capitol building.

17.   Having promoted the lie that Joe Biden stole the election, having urged

people to come to Washington, DC, and having helped light and then pour gasoline

on a fire that resulted in an insurrection that interfered with the peaceful transition

of power, Fox needed to mask its culpability. It also needed a narrative that did not

alienate its viewers, who had grown distrustful of Fox because of its perceived lack

of fealty to Trump.




                                           3
 Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 5 of 53 PageID #: 12




18.   At first, Fox and its on-air personalities sought to blame Antifa for the

attack.

19.   As information about the rioters circulated, that false narrative became too

easily disproven.

20.   Still, just as Fox had focused on voting machine companies when falsely

claiming a rigged election, Fox knew it needed a scapegoat for January 6th that

would help absolve itself and would appeal to its viewers. It settled on Ray Epps

and began promoting the lie that Epps was a federal agent who incited the attack

on the Capitol:




21.   And with that, Fox, and particularly Mr. Carlson, commenced a years-long

campaign spreading falsehoods about Epps. Those lies have destroyed Ray’s and

Robyn’s lives. As Fox recently learned in its litigation against Dominion Voting

Systems, its lies have consequences.


                                          4
    Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 6 of 53 PageID #: 13




                   PARTIES AND RELEVANT NON-PARTIES

22.     Plaintiff James Ray Epps, Sr. (“Ray,” “Ray Epps,” or “Epps”) and his wife

Robyn Epps are a married couple who resided in Arizona during the relevant

period until May 2022, when they moved to the State of Utah, where they currently

reside.

23.     Defendant Fox News Network, LLC (“Fox”) has overseen the “most-

watched” cable news network in America for multiple years running1. The

company was formed and is organized under the laws of Delaware and has its

principal place of business in New York. It is wholly owned by Fox Corporation, a

Delaware corporation also headquartered in New York. Fox operates the Fox News

Channel, the Fox Business Channel, Fox News Radio, and Fox News Digital,

which includes the fox.com, foxnews.com, and foxbusiness.com websites, Fox’s

social media accounts, and Fox’s digital subscription services, such as Fox Nation,

which it refers to collectively as “Fox News Media.” The Fox News and Fox

Business Channels are available in over 70 million American households.2 Fox

repeatedly published defamatory falsehoods about Epps, including by broadcasting

and rebroadcasting defamatory statements by Tucker Carlson—who devoted over

two dozen segments to Epps—and by republishing those falsehoods across Fox’s


1
  Fox Annual Report (2022), https://investor.foxcorporation.com/static-
files/1ed7c450-e52a-4259-8631-80db9e79be32.
2
  Id.
                                         5
 Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 7 of 53 PageID #: 14




websites, social media accounts, and subscription service platforms. Through this

effort, Fox’s lies reached tens, if not hundreds, of millions of people outside of

Fox’s regular viewership through further republication by others on social media.

24.   Until April 2023, Tucker Carlson was a Fox News personality and the host

of Fox’s Tucker Carlson Tonight. At all relevant times, Carlson was an agent for

Fox and, on information and belief, he remains under contract with Fox. Fox

removed Carlson from his on-air duties in late April 2023, and it has been reported

that one basis for Fox’s decision rested on Carlson’s defamatory attacks on Epps

and Carlson’s’s purported desire to continue to embrace, promote, and amplify the

lies about Epps.

                           FACTUAL ALLEGATIONS

25.   Epps is a poorly cast villain for Fox and Mr. Carlson. Prior to 2022, Epps

had consistently voted Republican. He is a former Marine who voted for Donald

Trump twice. He was an avid and loyal Fox viewer and a fan of Mr. Carlson’s.

When Fox, through its on-air personalities and guests, told its audience that the

2020 election had been stolen, Epps was listening. He believed Fox. And when

Epps kept hearing that Trump supporters should let their views be known on

January 6th in Washington, D.C., Epps took that to heart.

26.   At first, Epps didn’t think that he could attend the Stop the Steal Rally. He

and his wife, Robyn, owned and operated a profitable wedding venue business on


                                          6
 Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 8 of 53 PageID #: 15




their property in Arizona, and December and January are extraordinarily busy

times for outdoor wedding venues in Arizona’s pleasant winter climate. However,

when Robyn learned that their son, Jim (also a Fox viewer and Trump supporter)

would be attending the Stop the Steal Rally, she insisted that Epps go as well. She

purchased Epps’s plane ticket on January 1, 2021, and reserved him a rental car

that same day.

27.    Receipts document this, but so do the text messages between Robyn and

Jim:




                                         7
 Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 9 of 53 PageID #: 16




28.   Epps arrived in Washington, D.C. late in the day on January 4th and spent

the next day touring Virginia with his son and his son’s friend. It was a special trip

for Epps, as he showed Jim where their ancestors had settled centuries earlier:




                                          8
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 10 of 53 PageID #: 17




                                     9
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 11 of 53 PageID #: 18




29.   After a day of sightseeing, Epps, Jim, and Jim’s friend returned to DC. Epps

went back to his hotel while Jim and his friend went out exploring. Later that night,

Jim and his friend called Epps and told him about Trump supporters becoming

confrontational with police and Black Lives Matter protestors. Epps decided to see

if he could help calm the situation because, according to Epps, “Marines are

always in the front.” When Epps arrived at the scene, a half dozen or so Trump

supporters among a larger group were yelling at police and highly agitated. The

lead provocateur was someone Epps would later learn called himself Baked

Alaska.

30.   Epps engaged with Baked Alaska, who, unbeknownst to Epps, was

livestreaming the encounter—his regular modus operandi. Based on his

observations of Baked Alaska that night, Epps believed Baked Alaska was seeking

to incite violence against the police, calling the officers names and telling them and

the crowd that the police had broken their oath. Epps challenged him, telling Baked

Alaska and the crowd that attacks on the police and violence were not what their

effort was about. As Baked Alaska began to turn the crowd of a dozen or so Trump

supporters against him, Epps sought to prove that he was on their side so that he

could deescalate the situation—to find common ground with them. He said, “I’m

probably gonna go to jail for this. Tomorrow, we need to go into the Capitol.

Peacefully.” At that time, Epps believed that the Rotunda was open to the public,


                                         10
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 12 of 53 PageID #: 19




like it had been when he visited Washington, DC with his father a decade earlier.

Nevertheless, Baked Alaska responded by chanting “Fed, fed, fed,” which a few

others in the crowd joined.

31.   The next morning, Epps attended the rally, where he learned that the crowd

planned to march to the Capitol after President Trump and others delivered

speeches on the Ellipse. To his disappointment, he could not hear most of the

speeches because he was positioned near someone spreading the gospel through an

amplified sound system. Believing that the time had come to protest the election

results at the Capitol where the results were about to be certified by Congress,

Epps and others began directing people towards the Capitol.

32.   When Epps arrived at the Capitol, he made his way to the barricades

separating protestors from police, because again, “Marines are always in the front.”

Epps sought to diffuse the situation. When agitators started to become more riled

up, he tried to calm them.

33.   One video shows Epps speaking with a protester named Ryan Samsel at the

first barricade, just before Mr. Samsel helped to breach it. When the FBI

interviewed Mr. Samsel in January 2021—before Fox spread lies about Epps and

before Mr. Samsel had any reason to lie about his interaction with Epps—Mr.

Samsel informed the FBI that Epps told him, “Relax, the cops are doing their job.”

Unsurprisingly, now that Fox has concocted and promoted lies about Epps, and as


                                         11
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 13 of 53 PageID #: 20




Mr. Samsel prepares to face a trial in his own criminal prosecution, Mr. Samsel has

changed his story in hopes of capitalizing on Fox’s lies, falsely claiming that Epps

instructed him about how to push through the barricades. Not only have Fox’s lies

caused severe harm to Epps and Robyn, but they have also turned Epps into a

character in a cartoonish conspiracy theory used by criminal defendants in a

desperate attempt to avoid responsibility for their behavior on January 6th.

34.   Despite Epps’s attempts to calm those around him, the crowd pushed

through the barricades and rushed toward the Capitol.

35.   After Mr. Samsel and others broke down the barricades, Epps followed and

continued attempting to diffuse the situation. After some in the crowd used a

Trump sign as a battering ram, Epps asked police officers if it was acceptable for

the protestors to be on a step below the police line. And when the police said it

was, Epps patrolled that line, telling anyone who stepped up, to step back. He

regularly reminded the Trump supporters to be respectful of the police and was

even captured on bodycam videos (that Mr. Carlson gained access to) telling the

police that he appreciated them.

36.   At one point, a person in the crowd had a medical emergency. Given his

EMT training, Epps rushed to help. He, along with a current EMT, helped bring the

man out of the crowd to safety. After the man no longer needed assistance, Epps

looked back at the Capitol and saw people advancing and climbing the scaffolding


                                         12
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 14 of 53 PageID #: 21




and walls. He was shocked and disappointed. He had concerns about the election

and believed it was his duty as a citizen to participate in the protest. But he did not

believe violence was appropriate. He left the Capitol grounds and began the long

walk back to his hotel.

37.     The next day, Epps flew back to Arizona. On January 8, 2021, Epps’s

brother-in-law informed him that the FBI’s website had posted a photograph of

Epps, indicating that it was seeking information about him. Within minutes, Epps

was on the phone with the FBI, providing his name and information. Four days

later, Epps retained an attorney. In March, the FBI met with Epps and then later

also met with Jim. In or around July 2021, the FBI removed Epps’s picture from its

website.

38.     That should have been the end of the matter for Epps. No one in the public

had heard his name. No one in the public knew anything about him. That changed,

though, when Fox—and specifically Mr. Carlson—decided that Epps was the

villain they needed to distract from the Dominion lawsuit and their culpability for

stoking the fire that led to the events of January 6th.

39.     Mr. Carlson took up Baked Alaska’s cry and began promoting the idea that

the FBI was responsible for January 6th in his series Patriot Purge, which Fox

released on its streaming service. Since then, Mr. Carlson has become fixated on

Epps.


                                          13
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 15 of 53 PageID #: 22




40.   Mr. Carlson’s spreading false and unfounded lies about Epps prompted the

United States House Select Committee on the January 6th Attack on the United

States Capitol (“January 6th Committee”) to interview Epps under oath, review the

evidence, and put out a statement confirming that Epps was not a federal agent.

41.   On December 14, 2021, Mr. Carlson questioned the January 6th

Committee’s dismissal of his Epps conspiracy and attacked former Rep. Liz

Cheney (R-WY). [Fox News, Tucker Carlson Tonight, 12/14/21]

42.   On January 5, 2022, Mr. Carlson stated: “Oh, be sure to check the F.B.I.

website. They are posting photos and not of people who actually work for them

who were there that day. They’re not only posting photos, they’re taking them off

the site, including the most wanted list. Remember Ray Epps?” [Fox News, Tucker

Carlson Tonight, 1/5/22]

43.   On January 6, 2022, Mr. Carlson stated about Epps: “Again, this is not a

conspiracy theory. It’s a legitimate question. Why won’t they answer it?” [Fox

News, Tucker Carlson Tonight, 1/6/22]

44.   On January 11, 2022, Mr. Carlson told viewers that Epps was “the central

figure” in the January 6th riot. [Fox News, Tucker Carlson Tonight, 1/11/22]

45.   On January 12, 2022, Mr. Carlson claimed Epps “helped stage-manage the

insurrection” and said that Rep. Adam Kinzinger (R-IL) is “withholding critical

information from the public.” [Fox News, Tucker Carlson Tonight, 1/12/2022]


                                        14
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 16 of 53 PageID #: 23




46.   On January 21, 2022, Mr. Carlson told viewers the January 6th Committee is

clearly “lying about Ray Epps.” [Fox News, Tucker Carlson Tonight, 1/21/22]

47.   On January 31, 2022, Mr. Carlson defended the Canadian truckers against

accusations of racism and suggested that a man attending with a Confederate flag

could be a “Ray Epps”-style government plant to discredit the trucker protest. [Fox

News, Tucker Carlson Tonight, 1/31/22]

48.   On June 7, 2022, Mr. Carlson said if the January 6th Committee wanted to

know what happened that day, they should talk to Epps “and various FBI

informants.” [Fox News, Tucker Carlson Tonight, 6/7/22]

49.   On July 13, 2022, Mr. Carlson suggested that the U.S. military was

concealing information found through the congressional investigation on January

6th to hide information about Epps. [Fox News, Tucker Carlson Tonight, 7/13/22]

50.   On July 14, 2022, Tucker Carlson had as his star guest Darren Beattie.




                                         15
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 17 of 53 PageID #: 24




Beattie was the principal person driving the false story that Epps was a federal

agent planted as a provocateur to trigger the Capitol violence on January 6th.

Beattie had advanced this theory on his own conspiracy website, Revolver. Here is

a transcript of that entire broadcast segment:

             TUCKER CARLSON (HOST): Darren Beattie is one of
             the reasons this piece was first written. He’s the editor of
             Revolver News, which published the first stories about
             Ray Epps. Obviously, The New York Times is very
             worried about his reporting. We’re happy to have him
             join us tonight. Darren, thanks so much for coming on.
             What do you make of this?

             DARREN BEATTIE (GUEST): Well, it’s pretty
             remarkable. I mean, just let’s take all of this in. The one
             person caught repeatedly urging people into the Capitol
             as early as January 5th is the one person of all of the
             January 6th riot participants that The New York Times
             just happens to write this ultra sympathetic puff piece for.
             It’s—it’s quite remarkable.

             And to look at the piece itself. As you suggested in
             your—in your intro, there are some real glaring
             omissions from a journalistic standpoint to have access to
             this guy. Number one, in the entire piece, there is no
             blanket explicit denial on the part of Epps to have been
             associated with any intelligence group—DHS, JTTF,
             military intelligence, so forth; just reiterates his very
             legal denial of being involved with law—law
             enforcement.

             Number two, the piece describes Epps as a Trump
             supporter. He just went to went to D.C. to defend Trump
             and to attend the speech on a last-minute thing with his
             son—to attend Trump’s speech on election fraud. The
             only thing is Epps didn’t attend the speech. Epps travels
             all the way from Arizona to D.C., this big Trump
                                          16
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 18 of 53 PageID #: 25




             supporter, and he doesn’t even attend the speech. Instead,
             he fixates on this bizarre mission to get everyone to go
             into the Capitol. And by the way, he just happens to be
             hanging out right by the initial breach point near the
             Peace Monument on the west side of the Capitol before
             the Proud Boys even get there.

             And thirdly, where did Ray Epps get this idea? This
             whole piece doesn’t explore that question at all. Here is
             the one person calling for everyone to go in. Where did
             you get that idea, Ray Epps? Did it occur to you out of
             nowhere did someone tell you to do it? This piece,
             shockingly, does not explore that question at all, which is
             the paramount question that’s really the animating—the
             alleged animating focus of the January 6 committee.

             So this is so dirty. Ray Epps’ behavior was so egregious
             that he was one of the first 20 on the FBI’s most wanted
             list. He was featured as a star in The New York Times’
             own documentary on January 6. And now he’s un-
             arrested, unindicted, and he’s the only January 6 rioter
             about whom Adam Kinzinger has nice things to say, and
             The New York Times is writing puff pieces about.

             He’s the smoking gun of the entire fed-surrection.

             CARLSON: And they go crazy when you ask simple
             questions like, what was the role of federal law
             enforcement or the military in this day? And it’s been our
             experience that when they won’t answer a question and
             call you names for asking it, maybe there’s something
             there. I appreciate your pulling this thread relentlessly,
             Darren Beattie. Thank you.

Average viewers of this broadcast understood the “gist and sting” of the broadcast,

considered in its entirety, as communicating as a fact that Epps was a federal agent

planted to encourage supporters of Donald Trump to go into the Capitol building


                                         17
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 19 of 53 PageID #: 26




on January 6th—the core false and defamatory allegation upon which this

Complaint by Epps against Fox is predicated.

51.   On January 4, 2023, Mr. Carlson ended his show asking why Epps was

“never charged or arrested or sent to jail” and promising his audience an

investigation to mark the anniversary of the January 6th insurrection. [Fox News,

Tucker Carlson Tonight, 1/4/23]

52.   On January 6, 2023, Mr. Carlson again focused on Epps.




The transcript from the segment reads:

            TUCKER CARLSON: Nor does anyone in authority
            want to talk about Ray Epps. Ray Epps, of course, is the
            man who was caught on tape encouraging the crowd
            outside the Capitol both on January 5th and 6th to
            commit felonies by rushing inside. Now what’s
            interesting is that the January 6th Committee under
            public pressure did in the end interview Ray Epps. Now
            we don’t have all of the Committees records about that
            interview. We should, but we don’t. But some have been
            released and what they tell is a remarkable story. In the
            testimony we have, the Committee coaches Ray Epps on
            how to answer questions about his involvement. Quote, I
                                         18
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 20 of 53 PageID #: 27




           was in the front with a few others. I also orchestrated it. I
           helped get people there. End quote. Now Epps admitted
           that in a text message to a relative on January 6th. He’s
           admitting crimes. He’s never been even charged for those
           crimes, but what’s so fascinating is that when those facts
           came up in his interview with the Committee, someone
           on the Committee responds this way—and we’re quoting:
           “I just want to understand a little more your use of the
           word orchestrated. It sounds to me like at this point when
           you sent this text you had turned away in part because of
           seeing some things that you didn’t agree with. Is that
           right? Like when you sent this you were already on your
           way from the Capitol because of concerns of people
           taking it in a different direction?” [Fake laughter] Is that
           the most leading question ever asked in the history of a
           congressional hearing? Probably. And the whole
           interview goes on like this. Keep in mind Ray Epps is
           one of the only people caught on camera that day
           encouraging others to break the law. He’s one of the only
           ones. And yet he’s never been charged and the January
           6th Committee was on his side. Why was the Committee
           and its members working so hard to help Ray Epps?
           Now, in his interview with the Committee, Ray Epps said
           he didn’t work for law enforcement. Law enforcement in
           a very specifically worded answer clearly thought
           through ahead of time. The question is, did Ray Epps
           work or have any contact with any government agency?
           Did he talk about January 6th before it happened with
           any employee of the U.S. government? We don’t know.
           We do know that two years after January 6th, long after an
           awful lot of other people have gone to jail for walking
           around the Capitol building, Ray Epps is still a free man.
           He’s never been charged, much less imprisoned in
           solitary confinement like so many others. Why is that?
           Well, let’s just stop lying. At this point, it’s pretty
           obvious why that is. But, of course, they’re still lying
           about it.




                                        19
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 21 of 53 PageID #: 28




Average viewers of this broadcast understood the “gist and sting” of the broadcast,

considered in its entirety, as communicating as a fact that Epps was a federal agent

planted to encourage supporters of Donald Trump to go into the Capitol building

on January 6—the core false and defamatory allegation upon which this Complaint

by Epps against Fox is predicated. Mr. Carlson also falsely claimed that Epps was

encouraging others on January 6th to storm the Capitol, and used imagery on

screen of Epps talking to Ryan Samsel, who had informed authorities that Epps

tried to calm him down and told him, “Relax, the cops are doing their job.”

53.   On March 6, 2023, Mr. Carlson deceptively presented cherry-picked January

6th footage while saying: “We know there was some number of undercover federal

agents in the crowd at the Capitol. Officials have since admitted that under oath,

but what exactly were they doing there? The January 6th Committee worked hard

to hide the answer to that question.” After interviewing Rep. Thomas Massie (R-

KY) about the footage, Mr. Carlson added, “It’s very clear . . . that federal agents

encouraged the violence that day.” He also admitted, “We are just a TV show and

we can’t show people without proof of who they really were.” [Fox News, Tucker

Carlson Tonight, 3/6/23]

54.   On March 7, 2023, Mr. Carlson stated, “For some reason,” the January 6th

Committee protected Epps. Mr. Carlson added, “He was their ally.” [Fox News,

Tucker Carlson Tonight, 3/7/23]


                                         20
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 22 of 53 PageID #: 29




55.   On March 11, 2023, Mr. Carlson appeared on the Redacted podcast that is

hosted by former Fox personality Clayton Morris and spoke about the work that he

and Fox producers did in reviewing footage from January 6th. Mr. Carlson stated,

“Ray Epps clearly was working for somebody. He was not a pure civilian.”

[Redacted, 3/11/23]

56.   To be clear, other Fox personalities and guests took up this line, too:
         a. 10/25/21: Laura Ingraham said it’s “very odd” that Epps’ photo was

            taken off the FBI list. She added that “Epps may have led the breach

            team that first entered the Capitol on January 6th.” The chyron in the

            segment read, “Were Federal Assets Involved in Capitol Riot?” [Fox

            News, The Ingraham Angle, 10/25/21]

         b. 12/28/21: Guest host for Tucker Carlson Tonight Will Cain pushed the

            conspiracy and cited “brand new photos from the Daily Mail” of Epps

            on his Arizona ranch. [Fox News, Tucker Carlson Tonight, 12/28/21]

         c. 1/5/22: On Laura Ingraham’s show, Rep. Marjorie Taylor Greene (R-

            GA) and Ms. Ingraham questioned why Epps was removed from the

            FBI list and has not been arrested. [Fox News, The Ingraham Angle,

            1/5/22]

         d. 1/10/22: On Fox’s Hannity, Sen. Ron Johnson (R-WI) referenced the

            conspiracy theory, asking, “What about Epps? Did he work for the
                                         21
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 23 of 53 PageID #: 30




             FBI?” [Fox News, Hannity, 1/10/22]

         e. 1/13/22: On Ms. Ingraham’s show, she questioned why Epps was not

             charged with conspiracy. Rep. Jim Jordan (R-OH) said he was

             skeptical about Epps being innocent and wanted to see the interview

             transcript of him meeting with the January 6th Committee. [Fox

             News, The Ingraham Angle, 1/13/22]

         f. 6/16/22: On Ms. Ingraham’s show, Rep. Marjorie Taylor Greene (R-

             GA) complained that the January 6th Committee is not showing

             footage of Epps, claiming he “was part of the effort to send people

             into the Capitol.” [Fox News, The Ingraham Angle, 6/16/22]

57.   Mr. Carlson made clear to his audience that he was not offering an opinion,

but fact. He stated as recently as March 11, 2023:

             A lot of this was clearly influenced by federal agents or
             informants. It was, ok? But I did not want to suggest
             someone was a federal agent or informant unless I knew
             for a fact because you really could get someone in
             trouble. Right? If you’re like, this was the guy, and like,
             we don’t know. I do know for, I mean it’s very clear,
             something very strange is going on with Ray Epps, we’ve
             named him repeatedly, we’ve invited him on the show
             repeatedly, I mean don’t lie to my face, the Ray Epps
             thing isn’t, isn’t organic, sorry.

58.   In other words, Mr. Carlson was bluntly telling his viewers that it was a fact

that Epps was a government informant. And they believed him, as shirts being sold

                                         22
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 24 of 53 PageID #: 31




online by individual creators calling for the arrest of Epps and advancing the

narrative that he was a government provocateur show:




As well as songs posted about Epps, which refer to him as a federal agent who

instigated the attack on the Capitol:




                                         23
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 25 of 53 PageID #: 32




59.   Fox and Mr. Carlson knew the story they were pushing about Epps was a lie.

60.   To make the factual assertion that Epps was working for the FBI, Mr.

Carlson relied on distorted and selectively edited videos, combined with an

untruthful voiceover and a false or misleading chyron.

61.   In February 2023, House of Representatives Speaker Kevin McCarthy

granted Mr. Carlson access to tens of thousands of hours of security and


                                        24
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 26 of 53 PageID #: 33




surveillance videos from the January 6th attack.

62.   Mr. Carlson then returned to the airwaves to continue to lie and mislead

about Epps. Among the footage available to Mr. Carlson was bodycam video that

fully and conclusively supported Epps’s statements that he was acting to deescalate

the crowd and contradicted the fantastical conspiracy theory promoted by Mr.

Carlson.

63.   Mr. Carlson, however, did not present his viewers with these videos that

directly contradicted the fiction he had been promoting.

64.   Recent disclosures by former Senior Fox Producer Abby Grossberg confirm

the view that Mr. Carlson purposefully distorted his presentation of material about

January 6th to conform with his false, but preferred, narrative, as Ms. Grossberg’s

own complaint against Fox states:




                                         25
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 27 of 53 PageID #: 34




65.   Ms. Grossberg has also recently stated:




                                        26
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 28 of 53 PageID #: 35




       Ms. Grossberg:      For example, right toward the end of my time there, when the
                           January 6th tapes were coming out, Tucker was very set on
                           finding an FBI person who was implanted in the crowd and
                           spinning this conspiracy that they were ultimately the ones
                           responsible for the Capitol attack, not Fox News as they’re
                           about to go into the Dominion trial, that it was really, you
                           know, the FBI that set up this thing, not Fox telling the
                           American people that the election rigged and the voting
                           machines did it. And when I went back to them, and said,
                           “Look there was no conspiracy theory here and I called this
                           attorney that is representing one of the Proud Boys and he flat
                           out told me on two occasions, ‘There is no conspiracy, get
                           away from this stuff, this is dangerous, tell Tucker to stop. I’ll
                           come on your show and represent my client, but I absolutely
                           will walk off if he asks me this.’” And the response was,
                           “Well, find someone else, Tucker is really intent on this.” And
                           that wore my mental health too because by that time, I had
                           really begun to connect the dots that the programming that we
                           were putting on the air every night, was not just generating
                           business, but also generating hatred in the audience, and after
                           January 6th, I had this wake up moment that this is hurting
                           people, people are getting angry and people are acting out on
                           that anger and this is not okay and I don’t want to be part of
                           that.”
       Interviewer:        And I want to ask you about the tapes. I mean, did he ask you
                           guys to look through the tapes looking for Epps, that what
                           you’re suggesting, or other FBI informants?”
       Ms. Grossberg:      I was not part of the team that look through the tapes. I, prior,
                           my story’s long, but I had been on emergency medical leave
                           due to the abuse that took place on that show, so when I came
                           back, they knew I had legal representation, so was not
                           including me in the viewing of the tapes, but they were
                           having me just look for a lawyer of a Proud Boy that was
                           willing to say that there were FBI informants infiltrating the
                           Proud Boys and the oath keepers.
       Interviewer:        And none of them were?
       Ms. Grossberg:      Not that I could find, no.



66.   Mr. Carlson’s disinterest in the truth also led him to disregard Epps’s

testimony under oath to the January 6th Committee that he was not working for or


                                            27
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 29 of 53 PageID #: 36




associated with a governmental agency:




                                         28
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 30 of 53 PageID #: 37




67.   Mr. Carlson also ignored the findings of the January 6th Committee making

clear that Epps was not working on behalf of the government:




                                       29
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 31 of 53 PageID #: 38




68.    And a knowing and reckless disregard for truth is why Mr. Carlson would

ignore attorneys representing January 6th defendants, including Nick Smith, an

attorney for one of the Proud Boys, who told a court, “In the media, there’s a

swirling notion that undercover informants instigated January 6th. That’s not our

belief . . . . I think it’s slander actually.”

69.    Contrary to Fox’s lies, Ray was not a federal agent of any kind, was not law

enforcement of any kind, and was not any type of government agent or informant,

or acting on behalf of the government in any capacity when he participated in the

protests on January 6th.

                    FOX’S AND MR. CARLSON’S LIES HAVE CAUSED
                                  IRREPARABLE DAMAGE
70.    The consequences to Ray and Robyn have been astronomical.

71.    Ray and Robyn received threatening voicemails, emails, and text messages


                                                 30
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 32 of 53 PageID #: 39




because of Mr. Carlson’s lies about Epps.

72.   People began driving past their farm brandishing weapons and shooting onto

their property.

73.   Initially, Ray and Robyn had to hire security to keep unwanted visitors off

their property when they were holding a wedding ceremony. They received death

threats and found bullet casings in their yard:




74.   Some examples of the threats include:

          a. Voicemails:

                  i. “Yeah, I was calling for Ray Epps. Ray! Hey, FBI agent. We

                    saw you, dude. Not sure how you’re feeling about your life

                    right now. Can’t be feeling good. Turn yourself in, bud. Nothing


                                          31
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 33 of 53 PageID #: 40




                 can stop what’s coming.”

             ii. “I was just checking to see if you guys are planning any more

                 insurrections. Haha. So, it’s going to be fun to see your place go

                 down in flames. Haha.”

             iii. “Yeah, hide behind your phone. You’ve got a known fed traitor

                 running this facility. Everybody in the country is aware of it. I

                 hope your business goes to hell, if it hasn’t already, because

                 that’s where you belong. Fucking traitor.”

             iv. “It’d be a damn shame to see that place go up in flames.”


        b. Messages:




                                       32
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 34 of 53 PageID #: 41




                                    33
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 35 of 53 PageID #: 42




                                    34
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 36 of 53 PageID #: 43




                                    35
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 37 of 53 PageID #: 44




75.      Epps also received a message purporting to be from Fox CEO Suzanne

Scott:




                                        36
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 38 of 53 PageID #: 45




Although Epps currently has no way of knowing whether Ms. Scott actually sent

this message, one of two things must be true: either she sent it or the individual

who did send it thought that the Epps story was so directly linked to Fox that they

decided to use Ms. Scott’s name as the sender.

76.   On January 28, 2022, Epps received an alert from Norton’s LifeLock system

warning that “identity information” belonging to Epps had been detected on the

Dark Web.

77.   The next day, the FBI reached out to Epps’s attorney to ask about Epps’s

security because the FBI had learned about threats against Epps.

78.   Those concerns are not speculative: Ricky Shiffer, who in August 2022 was

                                         37
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 39 of 53 PageID #: 46




killed after attacking an FBI office in Cincinnati, Ohio, had been so convinced of

the lies about Epps that he referred to Epps in his Truth Social account bio.

79.     Eventually, the threats became too much.

80.     At first, Robyn moved out and stayed with a friend. But she still suffered

harassment because people were inundating the business email and her personal

phone, which also served as the business’s line.

81.     Ultimately, Ray and Robyn knew that they could not remain in their home

and continue running the business that they had spent a decade building, including

depleting Robyn’s 401(k) to fund the startup costs.

82.     They sold their home to their neighbors for the appraised value of the house

Ray and Robyn had owned for a decade.

83.     The business simply went with the property for no added value. In fact, Ray

and Robyn had to pour tens of thousands of dollars into the business so that their

neighbors would purchase the house.

84.     Ray and Robyn went from living in a 4,098 square foot ranch house on

nearly five acres of land, to living in a fifth wheel RV of no more than 350 square

feet.

85.     Robyn was forced to give up her dog breeding business, as well.

86.     In short, the economic consequences of Fox’s lies about Epps are significant.

87.     Ray and Robyn lost their investments in Knotty Barn.


                                          38
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 40 of 53 PageID #: 47




88.   For example, they had poured hundreds of thousands of dollars into the

business to renovate and to build the barn itself.

89.   They lost their income from the business.

90.   In 2021 alone, Knotty Barn enjoyed gross revenue over $500,000, with a

profit of nearly $350,000. Reservations for 2022 (booked more than a year in

advance) exceeded the 2021 number. Knotty Barn had recently been listed as a top

5 wedding venue in Arizona.

91.   And they have incurred significant expenses associated with moving and

living in hiding.

92.   The emotional and psychological effects of the threats and attacks cannot be

overstated. Indeed, they may very well dwarf the economic consequences.

93.   Further, Fox was on notice of the destructive consequences of telling lies

that harm someone’s reputation. The Dominion and Smartmatic complaints

documented the harassment that people associated with those companies faced due

to Fox’s misinformation campaign about voting machines. A July 2022 New York

Times article about Ray and Robyn focused on the harm done to them by Mr.

Carlson’s relentless false statements about them. And Mr. Carlson himself

acknowledged that he “did not want to suggest that someone was a federal agent or

informant unless I knew for a fact, because you really could get someone in

trouble, right?”


                                          39
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 41 of 53 PageID #: 48




94.   Finally, in May 2023, the Department of Justice notified Epps that it would

seek to charge him criminally for events on January 6, 2021—two-and-a-half years

later. The relentless attacks by Fox and Mr. Carlson and the resulting political

pressure likely resulted in the criminal charges.

95.   Although it is difficult to believe that the Department of Justice would have

pursued this matter if Fox had not focused its lies on Epps, ultimately the criminal

charges conclusively demonstrate the falsehood of the story that Mr. Carlson and

Fox told about Epps.

96.   Epps was not a federal agent. He was a loyal Fox viewer and Trump

supporter. Had the Department of Justice charged Epps in 2021, Mr. Carlson would

have hailed Epps a hero. Instead, Fox and Mr. Carlson made Epps the central

figure in a lie they concocted about January 6, 2021. After destroying Epps’s

reputation and livelihood, Fox will move on to its next story, while Ray and Robyn

live in a 350-square foot RV and face harassment and fear true harm. Fox must be

held accountable.

                    COUNT ONE – DEFAMATION PER SE

97.   Epps repeats and re-alleges Paragraphs 1-96 as if set forth fully herein.

98.   Fox published the defamatory statements identified above, including all

statements made about Epps on the dates identified, by and through Fox’s own

agents making the statements themselves; by intentionally providing a platform for


                                          40
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 42 of 53 PageID #: 49




guests to appear on Fox programming who Fox and its hosts knew would make

such statements on the air and by affirming, endorsing, repeating, and agreeing

with the statements of guests on their shows; and by republishing the statements on

the air, Fox’s websites, Fox’s social media accounts, and Fox’s other digital

platforms and subscription services after the live broadcasts aired.

99.    Fox broadcasted the false and defamatory statements of and concerning

Epps with actual malice—with knowledge of falsity or reckless disregard for truth

or falsity. The existence of actual malice is amply supported by circumstantial

evidence currently available to Epps in the public domain and will be further

buttressed by evidence adduced in discovery. Among other circumstantial indicia

of actual malice, Fox knowingly and intentionally relied on unreliable sources,

including, among others Darren Beattie, known by Fox to be a discredited

conspiracy theorist. Fox advanced an inherently improbable story—so inherently

improbable that only a reckless broadcaster would advance it—namely that FBI

agents or other federal law enforcement authorities working under the

administration of Donald Trump would employ Epps as a provocateur to advance a

federal government agenda to engage in an insurrection and commit violence at the

Capitol. Fox engaged in a pre-conceived story line, advancing its false claims

against Epps for the callous and cynical purpose of creating a scapegoat to deflect

responsibility from Fox’s own complicity the January 6 violence by spreading false


                                         41
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 43 of 53 PageID #: 50




conspiracy claims that the election had been stolen. Fox thus had an economic

motive to lie and make Epps a scapegoat, seeking to advance an inherently

improbable story in order to aggrandize Fox with viewers who were disgruntled

with Fox for not standing sufficiently loyal to President Trump. Fox directed its

employees to find guests who would spew similar lies about Epps and when

prospective guests indicated that such a narrative was false, Fox instead sought out

others who would offer a factual assessment in line with Fox’s preferred message.

Fox engaged in purposeful avoidance of the truth, intentionally ignoring

information and evidence that directly contradicted Fox’s outlandish lies about

Epps. Fox refused to retract, correct, or apologize for its demonstrably false and

defamatory accusations against Epps well after Fox knew definitively that they

were false, providing yet additional circumstantial evidence of actual malice. Fox

thus broadcast its lies about Epps with a high degree of awareness of probable

falsity.

100. Fox’s statements are reasonably understood to be statements of fact about

Epps, and were understood by people who saw, heard, and read them to be

statements of fact about Epps. The gist and sting of the statements made by Fox of

and concerning Epps, considered individually and in their entirety, was that Epps

was a federal agent planted to provoke the insurrection at the Capitol on January

6th.


                                         42
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 44 of 53 PageID #: 51




101. Fox’s statements about Epps are false. Epps was not a government agent on

January 6, 2021, nor has he ever been.

102. Fox had no applicable privilege or legal authorization to make the false and

defamatory statements, or if it did, it abused it.

103. Fox’s defamatory statements, whether taken individually or together in their

cumulative impact, damaged Epps in the various ways described above.

104. Epps is entitled to punitive damages because Fox’s defamatory statements

were accompanied with malice, wantonness, and a conscious desire to cause injury.

Fox purposefully made the defamatory statements heedlessly and with reckless and

willful indifference to Epps’s rights.

105. Epps is entitled to punitive damages because Fox published its defamatory

statements about Epps with actual malice.

106. Fox’s statements are defamatory per se, as they impute serious criminal or

unethical conduct to Epps. Fox’s statements have exposed Epps to the most

extreme hatred and contempt. Fox’s statements were calculated to—and did in

fact—provoke outrage and cause Epps significant harm.

107. Fox’s lies about Epps reached hundreds of millions of people and caused

enormous harm to Epps. As a result of the defamatory campaign, Epps has suffered

the single and indivisible injuries discussed previously, including but not limited

to: being harassed and receiving death threats; forced to spend money to protect


                                           43
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 45 of 53 PageID #: 52




himself and his family; forced to give up his businesses and sell his home; forced

to flee and live in isolation; and forced to face financial ruin; loss of income; loss

of earning capacity; loss of business and business opportunities; suffering, both

mental and physical in nature; mental anguish; public humiliation; anxiety; loss of

sleep; and loss of appetite. Epps is entitled to damages, including presumed

economic damages, as a consequence of Fox’s conduct. Epps has suffered special

damages, incurring direct economic losses as a result of Fox’s defamation, as

described in ¶¶ 81-91 above. Epps has suffered presumed and actual damages,

through internal emotional anguish and distress, and through external harm to his

reputation.

108. Fox published its false and defamatory statements about Epps repeatedly

over a substantial period of time. Fox disregarded Epps’s sworn testimony, the

statements of officials responsible for investigating the January 6th attack on the

Capitol, attorneys for January 6th defendants, who labeled Fox’s lies against Epps

as defamatory, and video footage directly contradicting Fox’s defamatory

accusations.

109. Fox’s lies about Epps were not simply reporting about the news of the day.

Rather, Fox, speaking in its own voice, made, published, ratified, endorsed,

adopted, and amplified lies about Epps. To be clear, Fox did not falsely assert that

Epps was a federal agent acting with a legitimate law enforcement purpose. Fox


                                          44
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 46 of 53 PageID #: 53




did not falsely assert that Epps was an informant for a federal agency. Instead, Fox

falsely asserted that Epps was a federal agent who was encouraging and inciting

others to engage in unlawful activities. And not just any unlawful activity, but

rather, to engage in an attack on the United States Capitol and democracy itself.

These statements were defamatory, in that they tended to expose Epps to public

contempt, hatred, ridicule, aversion, or disgrace. And as set forth throughout this

Complaint, the statements in fact subjected Epps to such contempt, hatred, ridicule,

aversion, and disgrace—even to the point of death threats against him.

110. The lies Fox published about Epps were specific and verifiably false, and

therefore not “opinion.” Indeed, Mr. Carlson regularly made clear he was speaking

about facts and presented Epps being a federal agent provocateur as a “clear” fact.

Epps either was or was not a federal agent acting as a provocateur to incite the

insurrection. He was not. And the United States government has definitively stated

that Epps was not an agent provocateur. The assertion is plainly a false fact

capable of being proven false.

111. In sum, as explained above, Fox made these false statements about Epps

with actual malice. Fox knew these statements were false. Fox’s lies have had

enormous consequences for Epps and Fox must be held accountable for its actions.

112. In view of the foregoing, Epps is entitled to special, actual, presumed,

punitive, and other economic damages in an amount to be determined at trial.


                                         45
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 47 of 53 PageID #: 54




                          COUNT TWO – FALSE LIGHT

113. Epps repeats and re-alleges Paragraphs 1-112 as if set forth fully herein.

114. The actions and statements by Fox described above have placed Epps before

the public in a false light.

115. The statements by Fox about Epps would lead the public to believe that Epps

was a federal agent working to provoke or otherwise incite others to attack the

United States Capitol on January 6, 2021.

116. Fox’s published statements about Epps involve a significant

misrepresentation of Epps’s character, history, activities, and beliefs.

117. Fox’s published statements about Epps would be highly offensive to a

reasonable person.

118. To reiterate, Fox did not falsely assert that Epps was a federal agent acting

with a legitimate law enforcement purpose. Fox did not falsely assert that Epps

was an informant for a federal agency. Instead, Fox falsely asserted that Epps was a

federal agent who was encouraging and inciting others to engage in unlawful

activities. And not just any unlawful activity, but rather, to engage in an attack on

the United States Capitol and democracy itself.

119. The offensiveness of the false light is demonstrated, in part, by the scorn and

ridicule accompanying the statements from Fox’s own on-air personalities and

guests.


                                          46
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 48 of 53 PageID #: 55




120. As explained above, Fox had knowledge of the falsity of its assertions about

Epps. At a minimum, Fox acted in reckless disregard as to the falsity of its

assertions about Epps.

121. Fox’s portrayal of Epps has caused Epps significant damages, as a result of

the false statements, Epps has suffered the single and indivisible injuries discussed

previously, including but not limited to: being harassed and receiving death threats;

forced to spend money to protect himself and his family; forced to give up his

businesses and sell his home; forced to flee and live in isolation; and forced to face

financial ruin, loss of income; loss of earning capacity; loss of business and

business opportunities; suffering, both mental and physical in nature; mental

anguish; public humiliation; anxiety; loss of sleep; and loss of appetite. Epps is

entitled to damages, including presumed economic damages, as a consequence of

Fox’s conduct.

122. Epps is entitled to punitive damages because Fox’s false light statements

were accompanied with malice, wantonness, and a conscious desire to cause injury.

Fox purposefully made the statements heedlessly and with reckless and willful

indifference to Epps’s rights.

123. Epps is entitled to punitive damages because Fox published its false light

statements about Epps with actual malice.

124. In view of the foregoing, Epps is entitled to actual, presumed, punitive, and


                                          47
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 49 of 53 PageID #: 56




other economic damages in an amount to be determined at trial.

                             PRAYER FOR RELIEF

      WHEREFORE, Ray Epps respectfully requests that the Court enter an award

and judgment in their favor, and against Fox News Network LLC, as follows:

      (a)   compensatory damages in an amount to be established at trial for

economic, emotional, reputational, and other injuries;

      (b)   punitive damages in an amount to be determined at trial;

      (c)   pre- and post-judgment interest;

      (d)   expenses and costs, including attorneys’ fees; and

      (e)   such other and further relief as the Court deems appropriate.

                                 JURY DEMAND

      Plaintiff demand a trial by jury on all claims and issues so triable.



Dated: July 10, 2023                        Respectfully submitted,

Of Counsel:                                 FARNAN LLP

Michael J. Teter                            /s/ Brian E. Farnan
Teter Legal                                 Brian E. Farnan (Bar. No. 4089)
P.O. Box 522365                             Michael J. Farnan (Bar No. 5165)
Salt Lake City, UT 84152                    919 North Market Street, 12th Floor
Telephone: (202) 796-6619                   Wilmington, DE 19801
michael@teterlegal.com                      Telephone: (302) 777-0300
                                            bfarnan@farnanlaw.com
Dick J. Baldwin                             mfarnan@farnanlaw.com
ZIMMERMAN BOOHER
341 South Main Street, Fourth Floor

                                         48
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 50 of 53 PageID #: 57




Salt Lake City, Utah 84111
(801) 924-0200
dbaldwin@zbappeals.com                Attorneys for Plaintiff James Ray Epps,
                                      Sr.




                                    49
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 51 of 53 PageID #: 58
                                                EFiled: Jul 10 2023 05:00PM EDT
                                                Transaction ID 70346647
                                                Case No. N23C-07-063 DJB
                 IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 JAMES RAY EPPS, SR.,

                   Plaintiff,

     v.                                                     Civil Action No.
 FOX NEWS NETWORK, LLC,

                   Defendant.

THE STATE OF DELAWARE,
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:
          To summon the above named defendant, Fox News Network, LLC so that, within 20 days after
service hereof upon defendant, exclusive of the day of service, defendant shall serve upon Brian E. Farnan,,
plaintiff’s attorney, whose address is 919 N. Market Street, 12th Floor, Wilmington, DE 19801, an answer
to the complaint (and, if an affidavit of demand has been filed, an affidavit of defense).
          To serve upon defendant a copy hereof and of the complaint (and of the affidavit of demand if
any has been filed by plaintiff).

Dated:                                              Colleen Redmond
                                                    Prothonotary
                                                    ______________________
                                                           Per Deputy
TO THE ABOVE NAMED DEFENDANT:
          In case of your failure, within 20 days after service hereof upon you, exclusive of the day of service,
to serve on plaintiff’s attorney named above an answer to the complaint (and, if an affidavit of demand has
been filed, an affidavit of defense), judgment by default will be rendered against you for the relief demanded
in the complaint (or in the affidavit of demand, if any).

Dated:                                              Colleen Redmond
                                                    Prothonotary


                                                             Per Deputy
Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 52 of 53 PageID #: 59
                                                 EFiled: Jul 10 2023 05:00PM EDT
                                                 Transaction ID 70346647
                                                 Case No. N23C-07-063 DJB
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

JAMES RAY EPPS, SR.,

              Plaintiff,

   v.                                    Civil Action No.
FOX NEWS NETWORK, LLC,

              Defendant.

                                 PRAECIPE

        PLEASE ISSUE a Summons to the Sheriff of New Castle County to serve

within 24 hours the Complaint upon the Defendant Fox News Network, LLC c/o

The Corporation Trust Company Corporation Trust Center, 1209 Orange Street,

Wilmington, DE 19801.



Dated: July 10, 2023                    Respectfully submitted,

                                        FARNAN LLP

                                        /s/ Brian E. Farnan
                                        Brian E. Farnan (Bar No. 4089)
                                        Michael J. Farnan (Bar No. 5165)
                                        919 N. Market St., 12th Floor
                                        Wilmington, DE 19801
                                        Tel: (302) 777-0300
                                        bfarnan@farnanlaw.com
                                        mfarnan@farnanlaw.com

                                        Attorneys for Plaintiff
           Case 1:23-cv-00761-MN Document 1-1 Filed 07/12/23 Page 53 of 53 PageID #: 60
                                       SUPERIOR COURT
                                                         EFiled: Jul
                           CIVIL CASE INFORMATION STATEMENT          10 2023 05:00PM EDT
                                                                  (CIS)
                                                         Transaction ID 70346647
                                                         Case No. N23C-07-063 DJB
COUNTY:           O
                  N    K       S               CIVIL ACTION NUMBER:__________________________

Caption:
                                                                              CDEF
                                                           Civil Case Code: ___________
James Ray Epps, Sr.
_______________________________________                                       Defamation
                                                           Civil Case Type: ________________________________
v.
_______________________________________
                                                                                     (SEE REVERSE SIDE FOR CODE AND TYPE)

                                                           MANDATORY NON-BINDING ARBITRATION (MNA) ______
Fox News Network, LLC
_______________________________________                    Name and Status of Party filing document:

_______________________________________                    Plaintiff James Ray Epps, Sr.
                                                           _________________________________________

_______________________________________                    Document Type:(E.G.; COMPLAINT; ANSWER WITH COUNTERCLAIM)


_______________________________________
                                                           Complaint
                                                           _________________________________________

                                                                            JURY DEMAND: YES ____
                                                                                                 X       NO ____

ATTORNEY NAME(S):                                          IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT OR ANY
                                                           RELATED CASES THAT HAVE BEEN CLOSED IN THIS COURT WITHIN THE LAST
Brian E. Farnan
_______________________________________                    TWO YEARS BY CAPTION AND CIVIL ACTION NUMBER INCLUDING JUDGE’S
                                                           INITIALS:
ATTORNEY ID(S):

4089
_______________________________________
                                                           ________________________________________________

FIRM NAME:
                                                           ________________________________________________
Farnan LLP
_______________________________________
                                                           EXPLAIN THE RELATIONSHIP(S):
ADDRESS:
                                                           _______________________________________
919 N. Market St., 12th Floor
_______________________________________
                                                           _______________________________________
Wilmington, DE 19801
_______________________________________
TELEPHONE NUMBER:                                          _______________________________________
(302) 777-0300
_______________________________________                    _______________________________________
FAX NUMBER:                                                OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:

(302) 777-0301
_______________________________________                    _______________________________________
E-MAIL ADDRESS:
                                                           _______________________________________
bfarnan@farnanlaw.com
_______________________________________
                                                           _______________________________________
                                                           (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)




THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE UNTIL
THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE PLEADING PROCESSED FOR SERVICE MAY
RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.

                                                                                                                   Revised 01/2019
